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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                                  Case No.: 5:20cr28-MW/MJF

MARGO DEAL ANDERSON, et al.,

     Defendants.
__________________________________/
           ORDER GRANTING UNOPPOSED EXTENSION OF TIME
       This Court has considered, without hearing, the Government’s Unopposed

Motion for Extension of Time to Respond to Defendants’ Motions to Dismiss. ECF

No. 336. The motion, ECF No. 336, is GRANTED. The Government shall file a

response to the motion to dismiss on or before October 7, 2022. 1 Defendants shall

file their replies, if any, on or before October 14, 2022.

       SO ORDERED on September 26, 2022.

                                             s/Mark E. Walker
                                             Chief United States District Judge




       1
          This Court cautions the parties to limit additional briefing delays considering the
November 28, 2022, trial date. While the parties are free to consent to briefing extensions before
seeking leave of Court to modify the schedule, this Court is not inclined to further tolerate the
glacial pace of the proceedings.
